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     INLAND EMPIRE – IMMIGRANT                  )    Case No. 5:17-cv-2048-MWF-SHK
15   YOUTH COLLECTIVE and JESUS                 )
     ALONSO ARREOLA ROBLES on behalf            )
16   of himself and others similarly situated,  )
                                                )
17                Plaintiffs,                   )
                                                )    PLAINTIFF’S REPLY IN
18                v.                            )    SUPPORT OF PLAINTIFF
                                                )    JESUS ALONSO ARREOLA
19   ELAINE C. DUKE, Acting Secretary, U.S. )        ROBLES’S MOTION FOR A
     Department of Homeland Security; JAMES )        PRELIMINARY INJUNCTION
20   McCAMENT, Acting Director, U.S.            )
     Citizenship and Immigration Services;      )
21   MARK J. HAZUDA, Director, Nebraska         )    Judge: Hon. Michael W. Fitzgerald
     Service Center, U.S. Citizenship and       )    Courtroom: 5A
22   Immigration Services; SUSAN M.             )    Hearing: November 20, 2017
     CURDA, Los Angeles District Director,      )    Time: 10 a.m.
23   U.S. Citizenship and Immigration Services; )
     THOMAS D. HOMAN, Acting Director, )
24   U.S. Immigration and Customs               )
     Enforcement; DAVID MARIN, Los              )
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 1                                      INTRODUCTION
 2         The government wholly fails to address the merits of Mr. Arreola’s claim that
 3   stripping him of DACA (“Deferred Action for Childhood Arrivals”) based solely on a
 4   Notice to Appear (“NTA”) charging him with presence without admission was
 5   arbitrary, capricious, and contrary to law. Indeed, the government fails even to
 6   contest that the DACA rules explicitly provide that a noncitizen’s placement in
 7   removal proceedings does not preclude a DACA grant. Instead, the government
 8   improperly offers a post hac rationale—one that the United States Citizenship and
 9   Immigration Services (“USCIS”) did not provide to Mr. Arreola and which there is no
10   indication that it even considered in deciding to terminate his DACA. And in arguing
11   that USCIS’ automatic termination did not also violate its own rules, the government
12   ignores the plain language of the DACA Standard Operating Procedures.
13         Given the government’s clear violation of the Administrative Procedure Act
14   (“APA”), it is no surprise that it asks this Court to avoid the merits on jurisdictional
15   and other grounds. In doing so, it repeatedly mischaracterizes Mr. Arreola’s claims as
16   challenges to removal. Yet Mr. Arreola does not challenge his placement in removal
17   proceedings, which are ongoing; instead, he challenges USCIS’s separate decision to
18   terminate his DACA after removal proceedings were initiated—a claim the
19   immigration court would have no jurisdiction to consider. The government also
20   incorrectly portrays Mr. Arreola’s claims as directed at the agency’s ultimate exercise
21   of discretion, rather than at the agency’s termination practices, set out in its
22   nondiscretionary eligibility criteria and procedures, which provide a meaningful
23   standard for review under the APA. Unsurprisingly, each federal court to address the
24   government’s jurisdictional arguments concerning a DACA recipient’s challenge to
25   termination has rejected them, and this Court should as well.
26         Mr. Arreola’s request for relief is straightforward: this Court should preserve
27   the status quo by temporarily enjoining the revocation of Mr. Arreola’s DACA
28   pending a termination process that complies with the APA and due process.

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 1                                        ARGUMENT
 2   I.    NO STATUTE PRECLUDES JUDICIAL REVIEW.
 3         In determining whether a suit can be brought under the APA, courts must
 4   “begin with the strong presumption that Congress intends judicial review of
 5   administrative action.” Bowen v. Mich. Academy of Family Physicians, 476 U.S. 667,
 6   670 (1986). This presumption requires that “only upon a showing of clear and
 7   convincing evidence of a contrary legislative intent should the courts restrict access to
 8   judicial review [of administrative action].” Id. at 671 (citation and internal quotation
 9   marks omitted). Here, there is no clear showing of intent to preclude Mr. Arreola’s
10   challenge to the termination of his DACA, a matter entirely independent of and
11   collateral to any removal proceedings.
12         The government contends that 8 U.S.C. § 1252(g), as well as §§ 1252(b)(9) and
13   1252(a)(5)—each of which purports to limit jurisdiction over certain challenges
14   relating to removal proceedings—bar this court from exercising jurisdiction over a
15   challenge to the termination of DACA. Yet each court to have considered these
16   contentions has rejected them. Gonzalez Torres v. DHS, No. 17-cv-1840, 2017 WL
17   4340385, at *4-5 (S.D. Cal. Sept. 29, 2017) (“Here, Plaintiff brings a procedural
18   challenge to termination of his DACA [], an issue independent from any removal
19   proceedings.”); Colotl v. Kelly, No. 17-cv-1670, 2017 WL 2889681, at *8-10 (N.D.
20   Ga. June 12, 2017) (“[N]either [§ 1252(g) nor § 1252(b)(9)] divests this Court of
21   jurisdiction to hear Plaintiff’s challenge to the . . . nondiscretionary process by which
22   her DACA status was terminated.”). As these courts correctly concluded, 8 U.S.C.
23   §§ 1252(a)(5), 1252(b)(9), and 1252(g) do not bar review of claims that the
24   government invalidly terminated a noncitizen’s DACA. None of Mr. Arreola’s claims
25   challenges the validity of any removal order, the adequacy of any removal
26   proceedings, or the initiation of any such proceedings.
27         A. Section 1252(g) Does Not Bar Mr. Arreola’s Claims.
28         Section 1252(g) does not apply because, despite the government’s repeated

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 1   efforts to mischaracterize the nature of his claims, Mr. Arreola is not challenging any
 2   decision to “commence” or “adjudicate” removal proceedings. As the Supreme Court
 3   explained in Reno v. American-Arab Anti-Discrimination Committee, (“AADC”),
 4   “what § 1252(g) says is” quite “narrow[].” 525 U.S. 471, 482 (1999). Compare Opp.
 5   at 16 (asserting, contrary to AADC, that § 1252(g) “broadly precludes judicial
 6   review”). “The provision applies only to three discrete actions that the Attorney
 7   General may take: her ‘decision or action’ to ‘commence proceedings, adjudicate
 8   cases, or execute removal orders.’” AADC, 525 U.S. at 482. Section 1252(g) does not
 9   preclude review of “many other decisions or actions that may be part of the
10   deportation process—such as the decisions to open an investigation, to surveil the
11   suspected violator, to reschedule the deportation hearing, to include various provisions
12   in the final order that is the product of the adjudication, and to refuse reconsideration
13   of that order.” Id.
14         Consistent with the Supreme Court’s guidance in AADC, the Ninth Circuit has
15   narrowly construed § 1252(g). For example, in Alcaraz v. INS, 384 F.3d 1150 (9th
16   Cir. 2004), the Ninth Circuit made clear that even claims closely related to the
17   initiation of removal proceedings are not precluded by § 1252(g), so long as the claim
18   does not directly challenge the decision to commence proceedings itself. Id. at 1160-
19   61. Alcaraz considered whether § 1252(g) precluded jurisdiction over a claim that the
20   BIA should have administratively closed the noncitizens’ removal proceedings, which
21   would have allowed the immigration authorities to re-initiate removal proceedings in
22   which the noncitizens would be eligible to apply for a form of discretionary relief that
23   would not have otherwise been available to them. Id. at 1152-53. This process—of
24   administrative closure followed by re-initiation of removal proceedings—was known
25   as “repapering.” Id. at 1154. The Ninth Circuit held that “[w]hile the second step in
26   the repapering process involves a decision to commence (or “reinitiate”) proceedings,
27   . . . [t]he Alcarazes’ repapering claim only raises the issue of administrative closure.
28   Therefore, we are not barred from hearing this claim by 8 U.S.C. § 1252(g).” Id. at

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 1   1161.
 2           Here, although one of Mr. Arreola’s claims challenges USCIS’ categorical
 3   revocation of his DACA after his NTA was issued, Mr. Arreola’s claim does not
 4   challenge CBP’s issuance of the NTA itself or its decision to place him in removal
 5   proceedings. Rather, he challenges USCIS’ separate and independent decision to
 6   revoke his DACA on that basis. See Gonzalez Torres, 2017 WL 4340385, at *4-5
 7   (holding that § 1252(g) did not preclude jurisdiction over noncitizen’s challenge to
 8   DACA termination based on an NTA, and explaining that the plaintiff’s challenge was
 9   “independent from any removal proceedings”). As in Alcaraz and Gonzalez Torres,
10   § 1252(g) does not preclude jurisdiction here because Mr. Arreola’s specific claim
11   does not challenge the commencement of removal proceedings itself. See, e.g.,
12   Catholic Soc. Servs., Inc. v. I.N.S., 232 F.3d 1139, 1150 (9th Cir. 2000) (explaining
13   that § 1252(g) “applies only to the three specific discretionary actions mentioned in its
14   text, not to all claims relating in any way to deportation proceedings”). Notably,
15   success on the claims in this case would not affect the immigration judge’s continued
16   jurisdiction over Mr. Arreola’s removal proceedings.
17           Mr. Arreola’s claim is not barred by § 1252(g) for the additional reason that he
18   does not challenge the agency’s ultimate exercise of discretion, but rather asserts legal
19   claims: he challenges Defendants’ failures to comply with their own rules, to provide
20   him with the process due, and to comply with the mandates of the APA. In construing
21   § 1252(g), the Ninth Circuit has also held that while it precludes jurisdiction to review
22   challenges to the three specified discretionary decisions, it does not bar review of
23   legal questions, even if related to those discretionary decisions. In United States v.
24   Hovsepian, 359 F.3d 1144, 1155 (9th Cir. 2004) (en banc), the Court explained that
25   under 8 U.S.C. § 1252(g), “[t]he district court may consider a purely legal question
26   that does not challenge the Attorney General’s discretionary authority, even if the
27   answer to that legal question—a description of the relevant law—forms the backdrop
28   against which the Attorney General later will exercise discretionary authority.”

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 1   Accord, e.g., Madu v. Attorney General, 470 F.3d 1362, 1368 (11th Cir. 2006)
 2   (explaining that § 1252(g) “does not proscribe substantive review of the underlying
 3   legal bases for those discretionary decisions and actions”). The Ninth Circuit’s en
 4   banc decision in Hovsepian is controlling here.1 Thus, although AADC indicated that
 5   § 1252(g) was “designed to give some measure of protection to ‘no deferred action’
 6   decisions and similar discretionary determinations,” 525 U.S. at 485 (emphasis
 7   added), Mr. Arreola’s case does not challenge any discretionary decision not to defer
 8   action. See also Texas v. United States, 787 F.3d 733, 755-56 (5th Cir. 2015) (holding
 9   that § 1252(g) was inapplicable to states’ APA challenge to 2014 deferred action
10   program). Indeed, rather than exercise its discretion in determining whether the
11   totality of circumstances warranted revocation, the government categorically
12   terminated Mr. Arreola’s DACA and work permit. 2
13         Finally, the government incorrectly represents that the Ninth Circuit has “held
14   there is no subject matter jurisdiction to review a decision to grant DACA” pursuant to
15   § 1252(g). Opp. at 15. However, neither case cited by the government so holds. In
16   Vilchiz-Soto v. Holder, 688 F.3d 642 (9th Cir. 2012), the noncitizen sought review not
17   of any decision to grant or deny DACA, but of the Board of Immigration Appeals’
18   (“BIA”) decision not to reopen removal proceedings, which the noncitizen believed
19   would have allowed him to apply for DACA. Id. at 643-44. The BIA, however, has
20   no jurisdiction to grant or deny DACA. See Matter of Quintero, 18 I. & N. Dec. 348,
21   350 (BIA 1982). The government also cites dicta in an unpublished case, Cruz
22
     1
            Notably, the government overlooks the Ninth Circuit’s en banc decision in
23
     Hovsepian and instead cites an Eighth Circuit case, incorrectly representing that “8
24   U.S.C. § 1252(g) does not distinguish between discretionary and nondiscretionary
     duties.” Opp. at 17. As discussed, however, the Ninth Circuit has rejected the
25
     argument advanced by the government.
     2
26          Cf. Gomez-Lopez v. Ashcroft, 393 F.3d 882, 884 (9th Cir. 2005) (holding that
     denial of discretionary relief based on a conclusion that noncitizen was in a “per se
27
     exclusion categor[y]” for that form of relief was “not a discretionary decision and
28   therefore [did] not strip this court of jurisdiction” under § 1252(a)(2)(B)).

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 1   Rodriguez v. Sessions, 677 Fed. App’x 447 (9th Cir. 2017), but that case is likewise
 2   inapposite because the noncitizen challenged the BIA’s denial of a motion to remand,
 3   and the Court therefore had no occasion to consider whether it would have jurisdiction
 4   to review a challenge to a denial of DACA on legal grounds.3 In both cases cited by
 5   the government, the noncitizen had not even applied for DACA, let alone sought
 6   review of any denial.4
 7         B. Sections 1252(b)(9) and 1252(a)(5) Do Not Bar Mr. Arreola’s Claims.
 8         As the Supreme Court has explained, the purpose of § 1252(b)(9) is “to
 9   consolidate ‘judicial review’ of immigration proceedings into one action in the court
10   of appeals, but it applies only ‘[w]ith respect to review of an order of removal under
11   subsection [1252] (a)(1).’” INS v. St. Cyr, 533 U.S. 289, 313 (2001). Critically, St. Cyr
12   held that § 1252(b)(9) does not apply to matters that are “not subject to judicial review
13   under § 1252(a)(1)”—which governs judicial review of removal orders. Id. The same
14   is true of § 1252(a)(5), which expressly concerns “judicial review of an order of
15   removal.” See Singh v. Gonzales, 499 F.3d 969, 978 (9th Cir. 2007) (“By virtue of
16   their explicit language, both §§ 1252(a)(5) and 1252(b)(9) apply only to those claims
17   seeking judicial review of orders of removal.”). Thus, §§ 1252(a)(5) and 1252(b)(9)
18   work to ensure that issues that can be adjudicated in a deportation proceeding are
19   resolved there, rather than in piecemeal, separate litigation.
20         Here, these provisions are inapplicable because Mr. Arreola does not seek
21
     3
22         The government also cites Romeiro de Silva v. Smith, 773 F.2d 1021, 1024-25
     (9th Cir. 1985), but that case did not involve section 1252(g); in fact, the statute did
23
     not yet exist at the time. In any event, the court explained that Nicholas v. INS, 590
24   F.2d 802 (9th Cir.1979), which found that courts had jurisdiction to review the 1978
     deferred action Operations Instruction, remained good law in the Ninth Circuit.
25   4
           The government’s citation to Sissoko v. Rocha, 509 F.3d 947 (9th Cir. 2007), is
26   likewise unavailing. That case involved a “direct[] challenge[]” to the government’s
     “decision to commence expedited removal proceedings.” Id. at 950. In contrast,
27
     here, Mr. Arreola does not challenge the validity of his placement in removal
28   proceedings whatsoever.

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 1   judicial review of an order of removal. To the contrary, his challenge is collateral to,
 2   and independent of, any removal proceedings. See Gonzalez Torres, 2017 WL
 3   4340385, at *4-5. Indeed, the government takes the position that “[d]eferred action
 4   does not . . . provide any defense to removal,” and “[a]n individual with deferred
 5   action remains removable at any time.” Opp. at 3. A noncitizen who is in removal
 6   proceedings can apply for DACA separately and simultaneously. 5 Critically, an IJ has
 7   no power to grant or deny deferred action, or to review or reverse the immigration
 8   agency’s decision to revoke deferred action. Gonzalez Torres, 2017 WL 4340385, at
 9   *11 (“[A]n immigration judge has no jurisdiction to reinstate DACA status, or
10   authorize an application for renewal of DACA status, as acknowledged by Defendants
11   at oral argument.”); see also Napolitano Memo at 2-3; Matter of Quintero, 18 I. & N.
12   Dec. at 350 (explaining that “neither the immigration judge nor the Board may grant
13   [deferred action] status or review a decision of the District Director to deny it”).
14         In particular, § 1252(b)(9) does not preclude Mr. Arreola’s claim because that
15   section does not deprive district courts of jurisdiction where the claim could not have
16   been litigated in removal proceedings and the noncitizen would otherwise “have had
17   no legal avenue to obtain judicial review of this claim.” JEFM v. Lynch, 837 F.3d
18   1026, 1032 (9th Cir. 2016) (citing Singh, 499 F.3d at 979-80); see also Aguilar v. ICE,
19   510 F.3d 1, 11-12 (1st Cir. 2007) (explaining that § 1252(b)(9) does not preclude
20   “claims that cannot effectively be handled through the available administrative
21   process”). The government concedes this point, but ignores that the immigration court
22   simply has no jurisdiction to review the termination or denial of DACA. See Opp. at
23   19 (“Congress’s intent was simple: if the issue is one that can be raised in removal
24   proceedings, and ultimately in a petition for review, then the statute precludes district
25   court review”) (citing JEFM, 837 F.3d at 1034).
26
     5
           Doc. No. 16-4, Kwon Decl. ¶ 10, Ex. 9 at 2 (Janet Napolitano, Memorandum on
27
     Exercising Prosecutorial Discretion with Respect to Individuals Who Came to the
28   United States as Children (“Napolitano Memo”) (June 15, 2012)).

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 1         The government also overlooks that in applying the jurisdictional provisions of
 2   § 1252, the Ninth Circuit has repeatedly held that APA challenges to the Department
 3   of Homeland Security’s (“DHS”) denials of affirmative benefits that are collateral to a
 4   noncitizen’s removal proceedings may be brought in district court. For example, in
 5   Mamigonian v. Biggs, 710 F.3d 936, 945-46 (9th Cir. 2013), the Ninth Circuit
 6   considered whether a noncitizen could seek district court review of USCIS’ denial of
 7   an adjustment of status application, when the noncitizen had also been in removal
 8   proceedings. Because review in the context of removal proceedings “would be
 9   unavailable to Ms. Mamigonian,” she could bring an affirmative claim in district court
10   notwithstanding the § 1252 jurisdictional bars. Id. at 945; see also, e.g., Ching v.
11   Mayorkas, 725 F.3d 1149, 1154-59 (9th Cir. 2013) (reversing district court’s denial of
12   procedural due process challenge to the denial of an I-130 petition for immediate
13   relative status filed by a husband for his wife, even though the wife’s “removal
14   proceedings are currently pending”).
15         The government unsuccessfully attempts to draw support for its § 1252(b)(9)
16   argument from JEFM, but that case supports Mr. Arreola’s position.6 As noted,
17   JEFM makes clear that where, as here, the immigration court would have no
18   jurisdiction to adjudicate the claim, § 1252(b)(9) does not bar district court
19   jurisdiction. JEFM, 837 F.3d at 1032. In JEFM, the Court reasoned that the
20   plaintiffs’ claim—that children in removal proceedings have a right to counsel—was
21   not independent of removal proceedings, emphasizing that “[r]ight-to-counsel claims
22   are routinely raised in petitions for review filed with a federal court of appeals.” Id. at
23   1033. 7 Here, in contrast, there is no question that a challenge to the revocation of
24
     6
            Counsel submit that JEFM’s conclusion—that the right to counsel claims at
25
     issue there could not be brought in district court—was incorrect, and note that there is
26   a pending petition for rehearing en banc. See JEFM v. Sessions, No. 15-35738, Doc.
     No. 106 at 12-23 (9th Cir. Dec. 5, 2016).
27   7
            Similarly, in Martinez v. Napolitano, 704 F.3d 620, 623 (9th Cir. 2012), the
28   petitioner raised asylum and other claims that could be raised in removal proceedings.

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 1   deferred action cannot be brought in immigration court, because the immigration
 2   judge has no power to consider it. Matter of Quintero, 18 I. & N. Dec. at 350.
 3         C. The Termination of Mr. Arreola’s DACA Is Reviewable Under the
 4            APA.
 5         The DACA eligibility criteria and Standard Operating Procedures (“SOPs”)

 6   provide law to apply, and the government’s contention that that determination is

 7   “committed to agency discretion by law,” 5 U.S.C. § 701(a)(2), is therefore incorrect.

 8   That bar applies only where there is “no meaningful standard against which to judge

 9   the agency’s exercise of discretion.” Mendez-Gutierrez v. Ashcroft, 340 F.3d 865, 868

10   (9th Cir. 2003) (quoting Heckler v. Chaney, 470 U.S. 821, 830 (1985)). As the Ninth

11   Circuit has held, there is law to apply whenever “statutes, regulations, established

12   agency policies, or judicial decisions . . . provide a meaningful standard against which

13   to assess” the agency action. Id.; accord ASSE Intern., Inc. v. Kerry, 803 F.3d 1059,

14   1069 (9th Cir. 2015) (“Even where statutory language grants an agency ‘unfettered

15   discretion,’ its decision may nonetheless be reviewed if regulations or agency practice

16   provide a ‘meaningful standard by which this court may review its exercise of

17   discretion.’”) (quoting Spencer Enters., Inc. v. United States, 345 F.3d 683, 688 (9th

18   Cir. 2003)).

19         The Ninth Circuit has expressly found that informal memoranda may provide

20   such a standard. For example, in Alcaraz, the Ninth Circuit held that, although the

21   relevant statutory provision committed the repapering policy at issue to the Attorney

22   General, the agency’s memoranda on the topic were sufficient to provide jurisdiction

23   under the APA. 384 F.3d at 1161; see also Pinnacle Armor, Inc. v. U.S., 648 F.3d

24   708, 719 (9th Cir. 2011) (looking to agency’s interim certification standards for law to

25   apply); Mendez-Gutierrez, 340 F.3d at 868-69 (finding that agency’s application of

26   reinstatement rules provided law to apply); Steenholdt v. FAA, 314 F.3d 633, 638

27   (D.C. Cir. 2003) (“[J]udicially manageable standards by which to judge the agency’s

28   action . . . may be found in formal and informal policy statements and regulations as

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 1   well as in statutes.”) (citation and internal quotation marks omitted). Here, the
 2   Napolitano Memorandum and DACA SOPs govern the DACA eligibility
 3   determination and in particular, whether Mr. Arreola continues to be eligible for
 4   DACA despite the issuance of his NTA.8 These documents, like the repapering
 5   memoranda in Alcaraz, 384 F.3d at 1161, set out detailed policy directives that
 6   provide the standards against which this Court can judge the government’s revocation
 7   of Mr. Arreola’s DACA. See Gonzalez Torres, 2017 WL 4340385, at *5
 8   (“Defendants’ failure to follow the termination procedures set forth in the DACA SOP
 9   is arbitrary, capricious, and an abuse of discretion.”) (citing U.S. ex rel. Accardi v.
10   Shaughnessy, 347 U.S. 260, 268 (1954), and Alcarez); Colotl, 2017 WL 2889681, at
11   *10 (“Defendants’ argument that § 701(a) of the APA bars this Court from reviewing
12   an agency’s non-discretionary review process fails.”). The government’s suggestion
13   that such directives are unenforceable under U.S. ex rel. Accardi v. Shaughnessy, 347
14   U.S. 260, 268 (1954), Opp. at 14, relies on a patent misreading of a single case. In
15   Mada-Luna v. Fitzpatrick, 813 F.2d 1006, 1010-11 (9th Cir. 1987), the plaintiff did
16   not attempt to enforce the guidelines at issue. Instead, the case concerned whether
17   those guidelines were applicable at all, and improperly promulgated without notice
18   and comment procedures. The opinion therefore did not mention Accardi at all, and
19   indeed the court also explained that it was not faced with the question of whether it
20   lacked jurisdiction under 5 U.S.C. 701(a)(2). See Mada-Luna, 813 F.2d at 1015.
21   8
             Although the DACA memorandum has been withdrawn, the agency continues
22   to adjudicate DACA applications according to the standards set out in the
     memorandum and its SOPs. See Kwon Decl. ¶ 16, Ex. 15 at 15 (Press Briefing by
23
     Press Secretary Sarah Sanders and Homeland Security Advisor Tom Bossert,
24   9/8/2017, #11, The White House, Office of the Press Secretary (explaining that
     “[d]uring this six-month time, there are no changes that are being made to the program
25
     at this point”); see also id. ¶ 17, Ex. 16 (Testimony of Michael Dougherty, Assistant
26   Secretary of DHS, Committee of the Judiciary, Oversight of the Administration’s
     Decision to End Deferred Action for Childhood Arrivals (Oct. 3, 2017),
27
     https://www.c-span.org/video/?435059-1/trump-administration-officials-testify-
28   decision-rescind-daca (relevant testimony at 56:46)).

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 1         The proposition from Heckler, 470 U.S. at 831-32, that an agency’s
 2   nonenforcement decisions are presumptively committed to agency discretion, is
 3   consistent with these principles: Mr. Arreola challenges USCIS’ determination that his
 4   DACA should be automatically terminated based on CBP’s issuance of an NTA, not
 5   any eventual enforcement decision in removal proceedings.9 Indeed, in Heckler, the
 6   Court noted that even enforcement decisions are reviewable where they are governed
 7   by “clearly defined factors” like the DACA eligibility criteria. 470 U.S. at 834
 8   (citation and internal quotation marks omitted). And the Fifth Circuit expressly found
 9   that the DACA memorandum created nondiscretionary eligibility standards. See
10   Texas v. United States, 809 F.3d 134, 170 (5th Cir. 2015), as revised (Nov. 25,
11   2015), cert. granted, 136 S. Ct. 906, 193 L. Ed. 2d 788 (2016).
12         In sum, the government fails to address the simple reason why the decision to
13   terminate Mr. Arreola’s DACA on the basis of the issuance of his NTA is reviewable
14   under the APA: the eligibility criteria and the SOPs provide the “meaningful standard
15   against which to judge the agency’s exercise of discretion” required by Heckler, 470
16   U.S. at 830.
17   II.   THE GOVERNMENT DOES NOT CONTEST THAT USCIS’
18         TERMINATION DECISION WAS ARBITRARY AND CAPRICIOUS
           UNDER THE APA.
19
20            A. This Court Must Evaluate the Government’s Actions Based on Its
                 Contemporaneous Rationale.
21
           The government does not dispute that USCIS terminated Mr. Arreola’s DACA
22
     automatically based on CBP’s issuance of an NTA, and thereby failed to exercise its
23
     own discretion. Nor does the government contend that it ever provided an
24
     9
25          Morales de Soto v. Lynch, 824 F.3d 822, 828-29 (9th Cir. 2016), the only Ninth
     Circuit case on which the government relies for the proposition that exercises of
26   prosecutorial discretion are unreviewable, concerned a challenge to an agency’s final
27   discretionary determination. Here, by contrast, Mr. Arreola challenges USCIS’ failure
     to follow its own rules before reaching a discretionary determination.
28

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 1   explanation, based on relevant factors, for its abrupt reversal. Instead, the government
 2   introduces new documents related to Mr. Arreola’s arrest—documents that the
 3   government never suggests that USCIS possessed, let alone relied on, in terminating
 4   Mr. Arreola’s DACA. The government’s contention that this Court should consider
 5   that evidence violates two fundamental principles of administrative law.
 6         First, it is black letter law that courts review agency action according to the
 7   contemporaneous reasons given by the agency, and disregard any alternative
 8   rationales presented during litigation. See Citizens to Preserve Overton Park, Inc. v.
 9   Volpe, 401 U.S. 402, 419 (1971), abrogated on other grounds by Califano v. Sanders,
10   430 U.S. 99 (1977); see also SEC v. Chenery Corp., 318 U.S. 80, 87-88 (1943). As the
11   Ninth Circuit has explained, “[t]he rule barring consideration of post hoc agency
12   rationalizations operates where an agency has provided a particular justification for a
13   determination at the time the determination is made, but provides a different
14   justification for that same determination when it is later reviewed by another body.”
15   Indep. Min. Co. v. Babbitt, 105 F.3d 502, 511 (9th Cir. 1997); accord Toor v. Lynch,
16   789 F.3d 1055, 1064 (9th Cir. 2015) (agency action may only be affirmed based on
17   the contemporaneous “explanations offered by the agency”) (internal quotation marks
18   omitted) (quoting Arrington v. Daniels, 516 F.3d 1106, 1112–13 (9th Cir. 2008));
19   Shirrod v. Director, 809 F.3d 1082, 1087 n.4 (9th Cir. 2015) (court must “review only
20   what the [agency] did, not what [it] could have done”).
21         Here, USCIS made clear in its notice to Mr. Arreola, and Defendants do not
22   contest, Opp. at 25, that USCIS terminated Mr. Arreola’s DACA automatically due to
23   CBP’s issuance of an NTA based on his presence without admission. The newly
24   submitted evidence is irrelevant to USCIS’ automatic termination decision, which is
25   the only rationale USCIS provided and the only rationale that is at issue in this case.
26         Second, and relatedly, courts may only review agency actions on the basis of
27   the administrative record. “If [a] finding is not sustainable on the administrative
28   record made, then the [agency’s] decision must be vacated and the matter remanded to

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 1   [it] for further consideration.” Camp v. Pitts, 411 U.S. 138, 143 (1973). This Court
 2   should decline to consider outside evidence that is not part of the record of USCIS’
 3   termination decision; indeed, there is no evidence that USCIS itself considered it. Ctr.
 4   for Biological Diversity v. U.S. Fish & Wildlife Serv., 450 F.3d 930, 943 (9th Cir.
 5   2006) (affirming the district court’s decision to strike additional exhibits that were not
 6   part of the administrative record and noting that “the focal point for judicial review
 7   should be the administrative record already in existence, not some new record made
 8   initially in the reviewing court”) (quoting Camp, 411 U.S. at 142).10
 9          In sum, on this motion, the Court must evaluate USCIS’ action according to the
10   contemporaneous rationale it provided and based on the record that was actually
11   before it.
12                B. USCIS’ Automatic Termination of Mr. Arreola’s DACA Based on
13                   the Issuance of an NTA Was Arbitrary and Capricious in Violation
                     of the APA.
14
            Defendants wholly fail to respond to—and therefore do not contest—Mr.
15
     Arreola’s claim that USCIS’ actual rationale for terminating his DACA grant—the
16
     10
17          Notably, the government’s allegations underscore the value of providing a fair
     pre-termination procedure with notice of the reasons for the decision and a fair
18   opportunity to respond. Had Mr. Arreola been provided an opportunity to respond, he
19   would have vigorously contested that he committed any crime. In fact, the
     government’s extra-record evidence shows that Mr. Arreola emphatically denied
20   smuggling when asked. Doc No. 23-2 at 54. Yet CBP represented in the I-213 form
21   that Mr. Arreola “stated that he was smuggling illegal aliens for financial gain.”
     Kwon Decl. ¶ 8, Ex. 7. An Immigration Judge nonetheless found Mr. Arreola credible
22   that he was not engaged in smuggling, and concluded that the I-213 allegations were
23   mistaken. The government now heavily relies on Mr. Arreola’s purported
     acknowledgment that he knew the passengers he was to pick up were undocumented,
24   Opp. at 28, but Mr. Arreola never suggested in the interview that he knew of his
25   prospective passengers’ immigration statuses before he was arrested by CBP agents.
     In any event, the government apparently decided that there was no basis to charge Mr.
26   Arreola with any crime. Cf. United States v. Barajas-Montiel, 185 F.3d 947, 953-54
27   (9th Cir. 1999) (holding that to establish a violation, specific intent to violate the
     smuggling laws must be established).
28

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 1   mere issuance of an NTA charging him with being present without admission—was
 2   arbitrary and capricious under the APA. Nor do Defendants contest that the
 3   Napolitano Memo and SOPs expressly provide that a noncitizen’s placement in
 4   removal proceedings does not preclude a DACA grant.
 5         USICS’ termination decision (1) represents a complete reversal of its prior
 6   considered position that Mr. Arreola was eligible for and warranted DACA without
 7   providing “a reasoned analysis for the change,” Motor Vehicle Mfrs. Ass’n v. State
 8   Farm Mut. Auto. Ins. Co., 463 U.S. 29, 42 (1983); and (2) does not reflect reasoned
 9   decisionmaking, see Judulang v. Holder, 565 U.S. 42, 55 (2011) (holding that
10   “agency action must be based on non-arbitrary, ‘relevant factors’”). USCIS’ decision
11   is arbitrary and capricious under the APA for both of these reasons. 5 U.S.C.
12   § 706(2).
13         First, although an agency may depart from its prior decision, if it does so, it “is
14   obligated to supply a reasoned analysis for the change.” State Farm, 463 U.S. at 42;
15   see also FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009) (“[T]he
16   agency must show that there are good reasons for the new policy.”). USCIS’ one-
17   sentence explanation that it terminated Mr. Arreola’s DACA automatically fails to
18   acknowledge that Mr. Arreola remains eligible for DACA under the applicable
19   criteria, much less provide “good reasons” for the agency’s change in position, as
20   required by the APA. Fox Television Stations, Inc., 556 U.S. at 515; see also, e.g.,
21   Organized Vill. of Kake v. U.S. Dep’t of Agric., 795 F.3d 956, 968 (9th Cir. 2015)
22   (explaining that the agency is “required to provide a ‘reasoned explanation . . . for
23   disregarding’ the ‘facts and circumstances’ that underlay its previous decision”)
24   (citations omitted). Indeed, all DACA recipients lack lawful immigration status and,
25   like Mr. Arreola, are removable on that basis. USCIS’ reliance on an NTA citing Mr.
26   Arreola’s presence without admission therefore fails to explain, much less justify, its
27   decision to reverse course and terminate his DACA. See Fox Television Stations, Inc.,
28   556 U.S. at 515 (explaining that an agency must give a “more detailed justification”

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 1   for a policy change if its “prior policy has engendered serious reliance interests that
 2   must be taken into account”).
 3         Second, as explained in Mr. Arreola’s opening brief, USCIS failed to act “in a
 4   reasoned manner” in violation of the APA. See PI Mot. at 11-14. An individual’s
 5   presence without admission is wholly irrelevant to whether that individual is eligible
 6   for DACA, and so the issuance of an NTA charging presence without admission does
 7   not provide a reasoned basis for terminating DACA. This conclusion is supported by
 8   the DACA SOPs, which make clear that a noncitizen in removal proceedings is
 9   eligible for and may be granted DACA like any other applicant. Kwon Decl. ¶ 21, Ex.
10   20 (“DACA SOPs”) at 71, 74-75. Despite Mr. Arreola’s continued eligibility for the
11   program, however, USCIS failed to consider the relevant facts and circumstances and
12   exercise its individualized discretion in accordance with its rules. Those make clear
13   that if someone is the subject of an NTA, USCIS should consider all of the relevant
14   circumstances, including the ground for removal charged in the NTA, to determine
15   whether DACA is appropriate or whether the individual is disqualified. Id. at 74-75.
16   The DACA rules also make clear that when the ground in the NTA does not adversely
17   impact a DACA grant—for example, merely lacking immigration status—the
18   individual is not disqualified from DACA.
19             C. USCIS’ Automatic Revocation Also Violates Its Own Procedures and
20                Thus the APA.
21         USCIS’ decision contravenes the APA for an additional reason: it violates the

22   DACA procedures, which the agency is required to follow. See PI Mot. at 17.

23   Indeed, notwithstanding the government’s passing suggestion that a DACA grant can

24   be terminated at any time, without notice (Opp. at 24), ultimately the government

25   concedes that the SOPs are binding on USCIS when adjudicating DACA cases, as

26   multiple courts have found. See Opp. at 25 (“[T]he DACA SOP was written by

27   USCIS for USCIS agents and officers.”); Colotl, 2017 WL 2889681, at *4 (“The SOP

28   states that . . . the procedures to be followed are not discretionary.”); Gonzalez Torres,

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 1   2017 WL 4340385, at *3 (“The DACA SOP issued by DHS sets forth the procedures
 2   for adjudicating DACA applications, renewals, and the termination of participation in
 3   DACA.”); see also, e.g., Fox Television Stations, Inc., 556 U.S. at 549 (an “agency
 4   must follow its own rules”). The DACA SOPs provide that, in most circumstances,
 5   including those that involve disqualifying criminal convictions, USCIS can only
 6   terminate DACA after the agency provides a Notice of Intent to Terminate that
 7   explains the adverse grounds and gives the recipient 33 days to respond with
 8   arguments and evidence. DACA SOPs at 136-37; see also PI Mot. at 17.
 9         Defendants’ assertion that “where CBP or ICE issues a Notice to Appear, the
10   DACA SOP provides that DACA and the EAD terminate automatically,” Opp. at 25,
11   finds no support in the SOPs. Instead, the SOPs make clear that there is only one
12   narrow circumstance in which USCIS may do so, which requires undertaking a
13   specific procedure that Defendants concede did not occur in Mr. Arreola’s case.
14   Under Chapter 14 of the SOPs, if USCIS determines that a disqualifying offense or
15   public safety concern is deemed to be “Egregious Public Safety” or “EPS” under the
16   agency’s 2011 NTA Memorandum, the officer should forward the case to a special
17   unit within USCIS, which will then refer the case to ICE and follow the handling
18   procedures outlined in the memo. DACA SOPs at 137. If after referral from USCIS,
19   ICE decides to issue an NTA, the SOPs provide that the NTA’s issuance terminates
20   DACA. Id. Defendants have not cited a single authority that provides that USCIS
21   may terminate DACA automatically any time CBP or ICE issues an NTA based solely
22   on presence without admission. See Opp. at 24-27. Indeed, if it were the case that all
23   DACA grants automatically terminate with the issuance of an NTA, then it would be
24   unnecessary for the SOPs to enumerate detailed procedures for termination when an
25   NTA is issued in certain EPS cases. 11
26
     11
            The government also asserts that a federal regulation provides for termination
27
     of a DACA EAD when an NTA is filed with the immigration court. Opp. at 25 n.16
28   (citing 8 C.F.R. § 274a.14(a)(1)(ii)). Although the cited regulation provides for

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 1         Here, nothing in the record indicates that USCIS determined that Mr. Arreola
 2   presented an EPS concern or referred his case to ICE, or that ICE ever reviewed his
 3   case or issued an NTA based on a determination that it was an EPS case; nor does the
 4   government even attempt to suggest that USCIS followed the procedures for EPS
 5   cases. On the contrary, CBP (not ICE) issued Mr. Arreola’s NTA based solely on
 6   presence without admission and without reference to any criminal grounds for
 7   removal. Under those circumstances, the DACA SOPs require that USCIS provide
 8   Mr. Arreola notice and an opportunity to respond before terminating his DACA.
 9   DACA SOPs 136-37.
10         Indeed, the court in Gonzalez Torres, 2017 WL 4340385, at *5-6, rejected the
11   same argument that the government makes here. The court explained that, except in
12   certain EPS cases, the SOPs require the issuance of a Notice of Intent to Terminate
13   before termination, and that an NTA charging presence without admission does not
14   constitute an EPS case under the SOPs. Id. at *5. The court also noted that the
15   government in that case—as in this one—“indefensibl[y]” conflated the CBP issuance
16   of an NTA with ICE’s issuance of an NTA after a USCIS referral of an EPS case. Id.
17   at *6. Defendants have no response to these points.
18         Defendants mischaracterize the Napolitano Memorandum, attempting to
19   suggest that it authorizes CBP and ICE officers to terminate DACA grants
20   unilaterally. See Opp. at 4, 25-26. Indeed, were that the case, then the SOPs’ careful
21   and detailed procedures governing DACA terminations would be negated. To the
22   contrary, the Napolitano Memo expressly vested in USCIS the responsibility for
23   making DACA determinations. See Napolitano Memo at 2-3 (directing USCIS to
24
     termination in some cases, it also contains a specific exception stating that “this shall
25
     not preclude the authorization of employment pursuant to § 274a.12(c) of this part
26   where appropriate.” 8 C.F.R. § 274a.14(a)(1)(ii) (emphasis added). See Alfaro-
     Orellana v. Ilchert, 720 F.Supp. 792, 794 (N.D. Cal. 1989) (recognizing that 8 C.F.R.
27
     § 274a.14(a)(1)(ii) “creates an exception for appropriate work authorizations under
28   § 274a.12(c))”).

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 1   immediately begin establishing a process to adjudicate DACA applications). While
 2   USCIS developed and implemented the DACA application process, DHS directed ICE
 3   to identify and assess for deferred action DACA-eligible individuals already in
 4   removal proceedings to prevent them from losing the opportunity to apply. Id. at 2.
 5   Further, DHS sought to ensure that DACA-eligible individuals who encountered DHS
 6   officers while the DACA application process was implemented were assessed for
 7   deferred action to prevent these “low priority individuals from being placed into
 8   removal proceedings or removed from the United States.” Id. Nothing in the
 9   Napolitano Memo supports the notion that, once USCIS implemented the DACA
10   adjudication process and made a considered judgment to grant an individual DACA,
11   the decision could be unilaterally undone by any ICE or CBP officer. Neither does the
12   Memo suggest that USCIS must treat another agency’s issuance of an NTA charging
13   presence without admission as determinative of its decision whether to terminate
14   DACA.
15         Defendants’ contention that USCIS has engaged in a consistent practice of
16   terminating DACA automatically based on the issuance of an NTA, and is therefore
17   entitled to deference, is not supported by the case law or the record. Defendants have
18   provided only 14 examples of cases in which USCIS has cancelled DACA on the
19   basis of an NTA, when USCIS has granted DACA to more than 800,000 applicants
20   since 2012 and approximately 1,500 grants have been terminated. See Declaration of
21   Katrina L. Eiland (“Eiland Decl.”) ¶ 3, Ex. 1. In any event, Defendants concede that
22   the interpretation they advance is entitled to, at most, Skidmore deference, which is
23   due “respect only insofar as [it] ha[s] the ‘power to persuade,’ which is a function of
24   ‘the thoroughness evident in [its] consideration’ and ‘the validity of [its] reasoning.’”
25   Resident Councils of Washington v. Leavitt, 500 F.3d 1025, 1037 (9th Cir. 2007).
26   Here, Defendants’ interpretation not only conflicts with the plain language of the
27   SOPs, but as explained above, such a policy would be arbitrary and capricious—
28   indeed, it would mean that any individual enforcement officer could reverse USCIS’

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 1   considered judgement with the stroke of a pen, notwithstanding the fact that the
 2   individual continues to be eligible for DACA and that all DACA recipients, by
 3   definition, lack lawful immigration status.
 4
     III.   THE GOVERNMENT PROVIDES NO RESPONSE TO MR.
 5          ARREOLA’S DUE PROCESS ARGUMENT THAT, ALTHOUGH DACA
 6          IS DISCRETIONARY, ONCE GRANTED HE IS ENTITLED TO A FAIR
            PROCESS FOR REVOCATION.
 7
            While the court can grant Plaintiff’s motion based on his non-constitutional
 8
     APA claims, the government notably fails to address Mr. Arreola’s core constitutional
 9
     argument. Mr. Arreola’s procedural due process argument is based on a controlling
10
     line of cases holding that, even absent a claim of entitlement to an important benefit,
11
     once it is conferred, recipients have a protected property interest that requires a fair
12
     process before the government may take that benefit away. See PI Mot. at 18-19
13
     (citing, inter alia, Bell v. Burson, 402 U.S. 535, 539 (1971)). Thus, even though
14
     DACA is ultimately discretionary, once granted, the government cannot take it away
15
     without due process.
16
            The government makes no attempt to refute this principle. Instead, it cites a
17
     cases holding that, as a general matter, discretionary benefits do not give rise to a
18
     protected property interest. See Opp. at 22-24 (citing cases). But Mr. Arreola never
19
     makes that contention, and none of those cases involve the revocation of a
20
     discretionary benefit that has already been conferred.
21
            The government further argues that the DACA guidance does not give rise to a
22
     protected property interest, see Opp. at 23-24, but again this argument is a straw man.
23
     Mr. Arreola does not argue that the DACA program itself establishes a protected
24
     interest. Instead, he argues only that, having previously granted him DACA, the
25
     government may not strip him of it without a fair procedure. Defendants’ remaining
26
     arguments likewise miss the mark. Mr. Arreola does not premise his claim on a
27
     substantive right “to work in the United States without authorization,” nor has he
28
     alleged a “right to family unity” or a deprivation of liberty. Opp. at 21.
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 1         Finally, the government does not even attempt to suggest that its actions
 2   satisfied due process. Indeed, the government could not since—as it concedes, see
 3   Opp. at 8-9—Mr. Arreola was stripped of DACA without any process whatsoever.
 4   This is especially true given that USCIS already provides a procedure whereby
 5   DACA recipients are afforded a reasoned explanation for its actions and an
 6   opportunity to present arguments and evidence. See PI Mot. at 17.
 7         The Court should likewise reject Defendants’ contention that Mr. Arreola’s due
 8   process claim fails for lack of prejudice. See Opp. at 30-31. The Ninth Circuit has
 9   questioned whether prejudice is even required under these circumstances. See Ching
10   725 F.3d at 1156 (characterizing question of whether prejudice is required outside of a
11   challenge to inadequate process in removal proceedings as “not settled”). In any
12   event, Plaintiff’s burden is a lenient one. See id. at 1156-57 (finding that prejudice
13   “standard does not demand absolute certainty; rather prejudice is shown if the
14   violation potentially affects the outcome of the proceedings”) (internal quotation
15   marks omitted). Indeed, courts “may infer prejudice even absent any allegations as to
16   what the petitioner or his witnesses might have said” if given the opportunity.
17   Zolotukhin v. Gonzales, 417 F.3d 1073, 1077 (9th Cir. 2005).
18         Mr. Arreola easily satisfies this test. Defendants argue that CBP relied on
19   significant evidence in issuing an NTA the night it arrested Mr. Arreola, and therefore
20   that providing Mr. Arreola with an opportunity to present information is not likely to
21   make a difference. Opp. at 29-31. As explained previously, however, Mr. Arreola
22   does not challenge CBP’s decision to issue an NTA; rather, his claim challenges
23   USCIS’ subsequent decision to treat the NTA as automatically cancelling his DACA,
24   without considering the grounds for the NTA and making a determination in the
25   totality of the circumstances, and without providing him with notice, a reasoned
26   explanation, or opportunity to respond. Mr. Arreola’s evidence would show, among
27   other things, that Mr. Arreola strenuously denies being involved in smuggling aliens;
28   the agency’s own decisionmaker found his testimony credible that he was not; he has

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 1   no criminal history; he has been a model employee; and he is a primary financial
 2   supporter of his U.S. citizen and permanent resident family members, as well as a
 3   caretaker of his U.S. citizen sister with serious disabilities. See Doc. No. 16-3,
 4   Declaration of Jesús Alonso Arreola Robles (“Arreola Decl.”) ¶¶ 3-6, 14-17, 41.
 5   Given that Mr. Arreola remains eligible for DACA, having the benefit of information
 6   about Mr. Arreola’s positive equities and evidence that he did not engage in criminal
 7   conduct has at least the “potential” to impact USCIS’ decision. See Zolotukhinm, 417
 8   F.3d at 1077 (rejecting government’s contention that petitioner could not show
 9   prejudice because he lacked good character and would not prevail on his claims even
10   if given a fair hearing).
11         In sum, the termination of Mr. Arreola’s DACA and EAD in the absence of a
12   fair process violates his procedural due process rights.
13   IV.   THE REMAINING INJUNCTION FACTORS FAVOR MR. ARREOLA.
14         The government does not dispute that the harm it is causing Mr. Arreola is
15   irreparable. Indeed, it could not do so given that the Ninth Circuit has expressly found
16   that undermining DACA recipients’ employment constitutes irreparable harm.
17   Arizona Dream Act Coalition v. Brewer, 757 F.3d 1053, 1068 (9th Cir. 2014) (“The
18   irreparable nature of Plaintiffs’ injury is heightened by Plaintiffs’ young age and
19   fragile socioeconomic position. Setbacks early in their careers are likely to haunt
20   Plaintiffs for the rest of their lives.”); see also Gonzalez Torres, 2017 WL 4340385, at
21   *6 (finding irreparable harm caused by loss of employment and “sense of well-being”
22   following termination of DACA); Colotl, 2017 WL 2889681, at *12; PI Mot. at 21-22.
23         The government instead suggests that Mr. Arreola’s claims are not urgent
24   because his DACA was terminated eight months before the filing of this case. Opp. at
25   11. That delay, in additional to being inconsequential, reflects Mr. Arreola’s good
26   faith attempts to advocate with the agency to reconsider its unreasoned decision. See,
27   e.g., Kwon Decl. ¶ 2, Ex. 1 (Plaintiff’s counsel correspondence with ICE); Id. ¶ 3, Ex.
28   2 (Plaintiff’s counsel correspondence with USCIS); see also Eiland Decl. ¶ 4

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 1   (describing efforts to engage legislators to inquire with DHS regarding reinstatement
 2   of Mr. Arreola’s DACA). The government does not and cannot contend that Mr.
 3   Arreola—who lost his job at Chateau Marmont and is expecting a child at the end of
 4   December, Arreola Decl. ¶¶ 3, 40-41—does not face imminent irreparable harm. And
 5   Mr. Arreola’s situation bears no resemblance to that in Quach v. Bank of Am., Nat.
 6   Ass’n, No. 12–5037 EJD, 2012 WL 4498873, at *4 (N.D. Cal. Sept. 28, 2012), Opp. at
 7   11, in which the plaintiff waited until two days before a trustee sale to seek a
 8   temporary restraining order challenging it. Here, Mr. Arreola’s DACA grant would
 9   have remained valid until August 2018. In any event, a months-long delay “is not
10   particularly probative in the context of ongoing, worsening injuries.” Arc of
11   California v. Douglas, 757 F.3d 975, 990–91 (9th Cir. 2014) (finding months-long
12   delay “prudent”). The irreparable harm to Mr. Arreola is ongoing and worsening: the
13   loss of his work permit will become even more acute with the birth of his child in less
14   than two months. Arreola Decl. ¶¶ 3, 40-41. Moreover, because his DACA grant
15   would have expired in August 2018, if his revocation is not preliminarily enjoined, he
16   may lose the opportunity for meaningful relief altogether.
17         The government also does not dispute that requiring it to comply with the APA
18   and the Constitution would serve the public interest. See PI Mot. at 22. Nor does it
19   dispute the interests of Mr. Arreola’s U.S. citizen and permanent resident family
20   members in a fair and reasoned determination of whether his DACA should be
21   terminated. See id. at 21-22. Nor does the government explain how re-evaluating the
22   termination of Mr. Arreola’s DACA under its own standards would cause the agency
23   harm—especially when it has such review procedures already in place. See id. And
24   although the government certainly has an interest in the enforcement of the
25   immigration laws, the agencies administering those laws are required to act lawfully.
26   In sum, the remaining factors support a preliminary injunction.
27         Defendants’ suggestion that enjoining the termination of Mr. Arreola’s DACA
28   would require a mandatory injunction is unavailing. A prohibitory injunction

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 1   maintains the status quo, which is defined as “not simply any situation before the
 2   filing of the lawsuit, but rather the last uncontested status that preceded the parties’
 3   controversy.” Dep’t of Parks & Rec. v. Bazaar Del Mundo, Inc., 448 F.3d 1118, 1124
 4   (9th Cir. 2006). Here, that “last uncontested status” is when Mr. Arreola had DACA
 5   and an EAD. Because the preliminary injunction Mr. Arreola requests would merely
 6   preserve that status quo by enjoining Defendants from enforcing the unlawful
 7   termination of his DACA, he does not request a mandatory injunction. See, e.g.,
 8   Auntie Anne’s, Inc. v. Wang, No. 14-cv-01049, 2014 WL 11728722, at *7 (C.D. Cal.
 9   July 16, 2014) (explaining that a mandatory injunction “requir[es] affirmative conduct
10   that goes well beyond the status quo”); San Diego Minutemen v. California Bus.
11   Transp. & Hous. Agency’s Dep’t of Transp., 570 F. Supp. 2d 1229, 1256 (S.D. Cal.
12   2008) (enjoining defendant’s revocation of plaintiff’s adopt-a-highway permit likely
13   in violation of First Amendment preserved the status quo).12
14                                       CONCLUSION
15         For these reasons, the Court should grant Plaintiff’s Motion for a Preliminary
16   Injunction and order Defendants to reinstate Mr. Arreola’s DACA and work
17   authorization pending a fair procedure—including reasonable notice, a reasoned
18   explanation, and an opportunity to be heard—through which he may challenge any
19   revocation decision consistent with the APA and the Due Process Clause.
20   Dated: November 6, 2017                   Respectfully submitted,
21
                                               /s/ Katrina L. Eiland
22                                             Katrina L. Eiland
                                               Jennifer Chang Newell
23
                                               Michael K. T. Tan*
24
     12
           Defendants further misunderstand the nature of Mr. Arreola’s requested relief
25
     by suggesting that he has asked for a permanent enjoinder that would prevent
26   Defendants from terminating his DACA for the remainder of its validity. See Opp. at
     12. On the contrary, Mr. Arreola has requested that the Court enjoin the revocation of
27
     his DACA and prohibit Defendants from terminating it again without complying with
28   its own rules, as well as with the APA and due process.

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